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Attorney for Debtor

                        UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF IDAHO

  In re:                                               Case No. 21-00461-JMM

  RICHARD JAMES WHEYLAND and                           Chapter 7
  NIKKI LEE WHEYLAND,
                                                       SECOND MOTION TO COMPEL
                         Debtor.                       ABANDONMENT OF BANK
                                                       ACCOUNT

       COMES NOW the Debtors, Richard James Wheyland and Nikki Lee Wheyland,

(“Debtors”), by and through their attorney of record, Joshua M. O’Hare of Foley Freeman,

PLLC, and hereby moves this Court for abandonment of the Union Bank account (the

“Account”) pursuant to 11 U.S.C § 554, and Bankruptcy Rule 6007 and Local rule 6007.1.

       1.      The Account is the property of Kenneth Graham, Nikki’s father, who resides in

Yucca Valley, California.

       2.      Mr. Graham is retired and uses the Account to pay for his normal everyday

expenses.

       3.      Mr. Graham’s only sources of income are Social Security and VA Disability. This

is reflected by the account statements attached as Exhibit A.

       4.      Sometime before filing the petition, Nikki was given access to the Account to

assist Mr. Graham in managing his funds.

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        5.      Mr. Graham also wanted Nikki to have access to the Account so that, if he were to

pass away, she could dispense with the funds as necessary.

        6.      The Account was never intended to be a joint account that Nikki could use for her

own expenses. This is also demonstrated by Exhibit A as there are only two transactions with

Nikki’s name attached in the two years of statements that are provided.

        7.      In or around March 2021, Nikki separated from her husband Richard Wheyland,

and needed a place to live.

        8.      The landlord of the property she currently rents stated that they would only rent

the property to her if she paid a year’s worth of rent upfront.

        9.      Being of little means, Nikki asked her father for help making the payment and Mr.

Graham gave her $17,000.00 out of the Account.

        10.     In or around February 2021, Mr. Graham found a piece of property in Idaho that

he intended to purchase.

        11.     Mr. Graham contacted Nikki to help him make the purchase and, on his behalf,

Nikki used her own money to put a $1,000.00 earnest money deposit on the property.

        12.     On February 23, 2021, Mr. Graham wired $25,000.00 to Pioneer Title Company

as the down payment on the property.

        13.     However, Mr. Graham’s purchase of the property was unsuccessful, and his down

payment was refunded on March 17, 2021.

        14.     The Account is not joint property because it was never intended to be joint

property and was never treated as though it was, and the presumption of joint ownership cannot

be sustained in the light of these facts.

        15.     Therefore, the Account should be abandoned so Mr. Graham can once again

access his funds.

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                                          CONCLUSION

       For the aforementioned reasons, the Debtors request that this Court order abandonment of

this property.

       DATED this 10th day of January, 2022.

                                                   FOLEY FREEMAN, PLLC


                                                   /s/ Joshua M. O'Hare
                                                   Joshua M. O'Hare
                                                   Attorney for Debtor

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 10th day of January, 2022, I caused to be served a true
and correct copy of the foregoing document by the method indicated below, and addressed to the
following:

        Office of the U.S. Trustee                  X    CM/ECF Notice
        Washington Group Central Plaza
        720 Park Blvd., Ste. 220
        Boise, ID 83712

        Timothy R. Kurtz                            X    CM/ECF Notice
        Chapter 7 Trustee
        PO BOX 956
        Boise, ID 83702

        Attachment A                                X    U.S. Mail

                                                   /s/ Joshua M. O'Hare
                                                   Joshua M. O'Hare




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                                   ATTACHMENT A


ADVANTAGE FINANCIAL SERVICES
ATTN: BANKRUPTCY                               IDAHO STATE TAX COMMISSION
10 S COLE RD BOISE, ID 83709                   BANKRUPTCY DIVISION
                                               PO BOX 36
BANK OF AMERICA                                BOISE, ID 83722
ATTN: BANKRUPTCY PO BOX 982234
EL PASO, TX 79998                              IRS
                                               PO BOX 7346
BANK OF AMERICA                                PHILADELPHIA, PA 19101-7346
ATTN: BANKRUPTCY
4909 SAVARESE CIRCLE                           JPMCB
TAMPA, FL 33634                                PO BOX 15369
                                               WILMINGTON, DE 19850
CAREPOINT EMERGENCY MEDICINE
BC SERVICES INC
PO BOX 1317                                    MISSION FEDERAL CREDIT UNION
LONGMONT, CO 80502-1317                        ATTN: BANKRUPTCY
                                               PO BOX 919023
CHASE CARD SERVICES ATTN: BANKRUPTCY           SAN DIEGO, CA 92191
PO BOX 15298
WILMINGTON, DE 19850                           NPAS SOLUTIONS, LLC
                                               PO BOX 2248
CMG FINANCIAL                                  MARYLAND HEIGHTS, MO 63043-1048
ATTN: BANKRUPTCY
3160 CROW CANYON RD, STE 400
 SAN RAMON, CA 94583                           SHEARER BONNEY PC
                                               SHAUN BONNEY
DISCOVER FINANCIAL                             PO BOX 15412
ATTN: BANKRUPTCY                               BOISE, ID 83715
PO BOX 3025
NEW ALBANY, OH 43054
                                               SUTTELL HAMMER, PC
GEM IRRIGATION DISTRICTT                       PO BOX 90006
PO BOX 67                                      BELLEVUE, WA 98009
HOMEDALE, ID 83628

GEM STATE RADIOLOGY                            WEST VALLEY MEDICAL CENTER
PO BOX 9649                                    PO BOX 740757
BOISE, ID 83707                                CINCINNATI, OH 45274-0757

HYUNDAI MOTOR FINANCE ATTN:                    WEST VALLEY MEDICAL GROUP
BANKRUPTCY                                     PO BOX 740776
PO BOX 20829                                   CINCINNATI, OH 45274-0776
FOUNTAIN VALLEY, CA 92728
CINCINNATI, OH 45274-0776




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